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                            11   Counsel for the Official Committee of Tort Claimants
B AKER & H OSTE TLER LLP




                                                           UNITED STATES BANKRUPTCY COURT
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                            13                             NORTHERN DISTRICT OF CALIFORNIA

                            14                                    SAN FRANCISCO DIVISION

                            15   In re:                                              Bankruptcy Case
                                                                                     No. 19-30088 (DM)
                            16   PG&E CORPORATION,
                                                                                     Chapter 11
                            17            - and -                                    (Lead Case)
                                                                                     (Jointly Administered)
                            18   PACIFIC GAS AND ELECTRIC
                                 COMPANY,
                            19                       Debtors.                        CERTIFICATE OF NO OBJECTION
                                                                                     REGARDING FIRST MONTHLY
                            20                                                       STATEMENT OF THE OFFICIAL
                                                                                     COMMITTEE OF TORT
                                 □ Affects PG&E Corporation                          CLAIMANTS FOR
                            21
                                                                                     REIMBURSEMENT OF EXPENSES
                                 □ Affects Pacific Gas and Electric Company          FOR THE PERIOD FEBRUARY 15,
                            22
                                                                                     2019 THROUGH APRIL 30, 2019
                                 ■ Affects both Debtors
                            23
                                                                                     [Re: Docket No. 2439]
                                 * All papers shall be filed in the Lead Case,
                            24   No. 19-30088 (DM).                                  OBJECTION DEADLINE: June 17, 2019
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                           Case: 19-30088      Doc# 2749     Filed: 06/25/19     Entered: 06/25/19 12:34:55   Page 1 of
                                                                         4
                             1   THE MONTHLY STATEMENT

                             2           On June 6, 2019, the Official Committee of Tort Claimants (the “TCC”), filed its First

                             3   Monthly Statement for Reimbursement of Expenses for the Period of February 15, 2019 through

                             4   April 30, 2019 [Docket No. 2439] (the “First Monthly Statement”), in accordance with the Order

                             5   Pursuant to 11 U.S.C §§ 503(b)(3)(F) and 105(a) Establishing Procedures for Reimbursement of

                             6   Expenses of Members of the Official Committee of Tort Claimants and Official Committee of

                             7   Unsecured Creditors dated April 9, 2019 [Doc. No. 1305] (the “Reimbursement Procedures

                             8   Order”).

                             9           The First Monthly Statement was served as described in the Certificate of Service of Tanya

                            10   Kinne, filed on June 6, 2019 [Docket. No. 2440]. The deadline to file responses or oppositions to

                            11   the First Monthly Statement was June 17, 2019, and no oppositions or responses have been filed
B AKER & H OSTE TLER LLP




                                 with the Court or received by Counsel for the TCC. Pursuant to the Reimbursement Procedures
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                            13   Order, within ten (10) business days following service of a certificate of no objection, the Debtors

                            14   are directed to pay each Committee Member entitled to reimbursement one hundred percent

                            15   (100%) of the requested expenses without the need of any further order of the Court. A summary

                            16   of the expenses sought by the Committee Members is attached hereto as Exhibit A.

                            17   DECLARATION OF NO RESPONSE RECEIVED

                            18           The undersigned hereby declares, pursuant to 28 U.S.C. § 1746, under penalty of perjury,

                            19   that:

                            20           1.     I am a partner of the firm of Baker & Hostetler LLP and Counsel for the Official

                            21   Committee of Tort Claimants.

                            22           2.     I certify that I have reviewed the Court’s docket in these chapter 11 cases, and have

                            23   not received any response or opposition to the First Monthly Statement.

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                                        3.     This declaration was executed in San Francisco, California.
                             2

                             3   Dated: June 25, 2019                        Respectfully submitted,
                             4                                               BAKER & HOSTETLER LLP
                             5

                             6
                                                                             By: _/s/ Cecily A. Dumas ______
                             7                                                       Cecily A. Dumas
                             8                                               Counsel for the Official
                             9                                               Committee of Tort Claimants

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                             2                                       EXHIBIT A
                             3   COMMITTEE MEMBERS INCURRING EXPENSES FOR SERVICES RENDERED ON
                                   BEHALF OF THE TCC FROM FEBRUARY 15, 2019 THROUGH APRIL 30, 2019
                             4

                             5
                                  Name                       Position                     Total Expenses Incurred
                             6    Karen M. Lockhart          Chair                        $1,025.63
                                  Samuel Maxwell             Member                       $1,649.47
                             7
                                  Gregory Wilson             Member                        $253.00
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